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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 19-60056-CR-RUIZ


   UNITED STATES OF AMERICA

   vs.

   BRANDON MICHAEL FLEURY,

                     Defendant.
   _______________________________/

                    GOVERNMENT’S SENTENCING MEMORANDUM AND
                          MOTION FOR UPWARD VARIANCE

          The United States of America, by and through the undersigned Assistant United States

   Attorney, hereby submits this sentencing memorandum and motion for upward variance. For the

   reasons set forth below, the United States requests that this Court impose the statutory maximum

   term of imprisonment of twenty years – five years as to each count of conviction and served

   consecutive to one another.

                                        OFFENSE CONDUCT

                                         The Victims Testified

          On October 1, 2019, M.S. – a grieving father whose son died during the Marjorie Stoneman

   Douglas High School shooting (“MSD shooting”) – entered the federal courthouse in Fort

   Lauderdale, took the witness stand, and testified. When asked to describe his son for the jury, M.S.

   became emotional. He spoke of his love for his son and the memories that he had with him,

   recalling how his son was just a happy boy who brought so much joy to those around him. His

   son’s death devastated M.S., completely shattering his world. After having lost his wife years


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   earlier, M.S. buried his son alongside her, hoping that she would keep a watchful eye over him.

          The next day, J.G. – the protective older brother whose sister died in the MSD shooting –

   took the witness stand and testified. He talked about how much his sister meant to him, describing

   in detail about how they used to spend their time laughing, watching television, and playing with

   their dogs. After his sister’s passing, J.G. could not fathom how he and his parents could ever

   function as a “family” without her. Her passing left a lasting void in his heart.

          F.G. – the heartbroken father whose daughter (J.G.’s sister) died in the MSD shooting –

   testified immediately after his son. F.G. thought the world of his daughter, beaming with joy as he

   recalled how much she meant to everyone around her. He reminisced about the activities that he

   and his family would do together before his little girl’s death. He spoke about the pain that he and

   his family felt when they first learned the news and how that moment forever changed their lives.

   He acknowledged that the only way that he could spend time with his daughter was at a cemetery.

   Her memory continues to live on in him.

          Lastly, L.S., a sixteen-year-old who still attends the Marjorie Stoneman Douglas High

   School, took the witness stand. L.S. described how she and her best friend (J.G.’s sister and F.G.’s

   daughter) grew up together. They were competitive dancers and enjoyed spending their free time

   together just like other teenage girls. Two years ago, at the age of 14, L.S. survived the MSD

   shooting and confronted death in a way that no one, especially someone so young, should ever

   have to do. That moment forever changed the way L.S. looked at the world.

          For the victims, their pain and grief persists even to this day. After all that they had endured

   from the MSD shooting, the victims had every right to take their time and grieve in peace.

   Unbeknownst to them, during the time when they were grieving their losses, someone on the other


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   side of the country stalked their social media presence and began plotting on how to exploit their

   insecurities and vulnerabilities for his own sexual gratification.

                                               Brandon Michael Fleury

            Brandon Michael Fleury’s criminal conduct stemmed from his deep fascination with

   aggressive people with violent tendencies. He admitted that certain mass murderers and serial

   killers – as identified below – sexually aroused him. Not only was Fleury physically attracted to

   these vile beings, he derived pleasure from the manner in which they exerted their dominance,

   power, and control over their targets. These facts paint the truest portrait of the man who

   cyberstalked and mercilessly harassed, intimidated, and threatened the family and friends of those

   murdered in the MSD shooting (“the victims”).

            The murderers and killers who aroused Fleury include but is not limited to the following:

                NAME                               NOTORIETY                           FLEURY’S RESPONSE

    Nikolas Cruz                        On February 14, 2018, Nikolas               Fleury    considered      Cruz
                                        Cruz entered the Marjory                    physically attractive and
                                        Stoneman Douglas High School                developed a fascination for
                                        in Parkland, Florida, with an AR-           “what he did” (Ex. 1, at 4). 1
                                        15 assault rifle and viciously
                                        murdered seventeen individuals,             Fleury admitted to having “a
                                        consisting of both students and             lot of fantasies about Cruz. It
                                        teachers.                                   is what it is” (Ex. 1, at 20).
    Theodore “Ted” Bundy                Ted Bundy kidnapped, raped, and             Fleury considered Ted Bundy
                                        murdered approximately thirty               to be attractive (Ex. 2, at 93), 3
                                        women in at least seven different           and sexually arousing (Ex. 2,
                                        states. 2                                   at 99).
                                        Bundy is one of history’s most              What interested Fleury about
                                        notorious serial killers.                   Bundy was the fact that “for a
                                                                                    while he got away with it”
                                                                                    (Ex. 1, at 92-93). Fleury also

   1 “Ex. 1” refers to the transcript of Fleury’s post-Miranda interview, a copy of which has been filed under seal.
   2 The Execution of Ted Bundy (January 31, 2020), https://abc7ny.com/5894904/.
   3 “Ex. 2” refers to the transcript of Dr. Park Dietz’ interview of Fleury, a copy of which has been filed under seal.

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                                                                             developed an interest in
                                                                             Bundy because he was “the
                                                                             last person that anyone would
                                                                             expect” (Ex. 1, at 34).

                                                                             Fleury had saved over 2,000
                                                                             images of Bundy on one of his
                                                                             tablet devices (Trial testimony
                                                                             of FBI Special Agent
                                                                             Cameron McDowell).

    Eric Harris                     Eric Harris and another high             Between Harris and Klebold,
                                    school student, Dylan Klebold,           Fleury held a deeper attraction
                                    murdered twelve students and one         towards Harris. He described
                                    teacher at the Columbine High            Harris as “hateful, vengeful,
                                    School in Colorado. 4 Prior to the       and aggressive” (Ex. 2, at 94).
                                    MSD shooting, the Columbine              He considered Harris to be
                                    shooting was the deadliest school        physically attractive (Ex. 2, at
                                    shooting in American history.            94).

    Zodiac Killer                   The Zodiac Killer is an                  Fleury        developed        an
                                    unidentified American serial             obsession with the Zodiac
                                    killer involved in the murder of         Killer (Ex. 2, at 86) and would
                                    approximately six people in              repeat       various      quotes,
                                    northern California in the late          including, “[T]hey were shot
                                    1960s. 5 The Zodiac Killer sent          with a Luger and I’m the one
                                    taunting letters and phone calls         that did it” and “If you – if you
                                    explaining why he committed the          people really believed I was
                                    murders,      demonstrating      an      gonna put a bomb on a bus,
                                    interest in astrology and occult         you all should have holes in
                                    religious thoughts. 6                    your heads” (Ex. 2, at 87-88).
    T.J. Lane                       On February 27, 2012, T.J. Lane          Fleury found Lane sexually
                                    entered a high school cafeteria          arousing “because he had
                                    and used a .22 caliber firearm to        murdered people and then he
                                    murder three students. Lane pled         taunted the families in the
                                    guilty to aggravated murder and          court room . . . He was a
                                    other related charges. At his            dominator, and he was
                                    sentencing, Lane unbuttoned his          ruthless. (Ex. 2, at 97).
                                    blue shirt to reveal a white t-shirt
                                    with the word “KILLER”                   Fleury’s obsession with Lane

   4 Columbine Shooting (May 8, 2019), https://www.history.com/topics/1990s/columbine-high-school-shootings.
   5 Zodiac Killer, American Serial Killer, https://www.britannica.com/biography/Zodiac-killer.
   6 Id.

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                                 scrawled on the front. Lane then began when he was 14 years
                                 addressed the victims’ families old (Ex. 2, at 85-86).
                                 with profane imagery before
                                 ending with the expletive: “Fuck
                                 all of you.” 7


          Driven by his sexual desire, Fleury used his tablet devices to research these mass murderers

   and serial killers. On his devices, he had saved over two thousand images of Ted Bundy, as well

   as dozens of images of other depraved murderers, including the Columbine shooters, Jeffrey

   Dahmer, 8 and Nikolas Cruz. When the MSD shooting occurred, Fleury developed an attraction

   and eventual sexual arousal for Nikolas Cruz. From his infatuation with Cruz, he began researching

   the MSD shooting. This led him down the path towards stalking the family and friends who lost

   loved ones in the massacre. In addition to stalking the victims, Fleury had the following located

   on his tablet devices:

          •   Fleury kept numerous screenshots of the victims.

          •   One of the screenshots captured a social media post by J.G. in which he posted
              a photograph of himself and his sister with the caption, “Happy national siblings
              day, I miss and I love you so much [sister’s name]. Fly high” followed by two
              heart emojis (Tr. Ex. 114). 9

          •   In another screenshot, Fleury saved an image of M.S.’ son posted by the
              “staystrongmsd” group with the caption, “We miss you [MS’ son].” One of the
              comments to that image read, “The more I see their pictures the more pain I feel
              for the families, for the parents” followed by two broken heart emojis (Tr. Ex.
              113).


          •   In a different screenshot, Fleury kept a family photograph that included F.G.,
              his wife, J.G., and J.G.’s sister (Tr. Ex. 68). At some point, Fleury cropped out

   7 Convicted high school shooter T.J. Lane back in custody after prison escape (September 12, 2014),
   https://www.cnn.com/2014/09/11/justice/ohio-school-shooter-escapes/index.html.
   8 Dahmer killed 17 men in Ohio and Wisconsin.
   9 “Tr. Ex.” refers to the trial exhibits now made part of the public record.

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                  the photograph of J.G.’s head and saved that image separately from the family
                  photograph (Tr. Ex. 69). J.G. ultimately ended up being the recipient of the
                  majority of Fleury’s messages.

              •   One of the photographs depicted M.S. and his son when they were attending
                  the high school marching band championship in recent years. In the photograph,
                  M.S.’ son wore his marching band uniform. While using the
                  “nikolasthemurderer” username, Fleury wrote, “Little [M.S.’ son] will never
                  play music again.”

                                     Impersonating Nikolas Cruz

              For months, Fleury obsessed over Nikolas Cruz, the MSD shooting, and the victims in this

   case. Yet, he chose to remain dormant until the week of Christmas 2018 – the victims’ first holiday

   season since the massacre. At that moment, Fleury unleashed a barrage of harassing, intimidating,

   and threatening messages towards them. He used approximately thirteen Instagram accounts,

   relying heavily on those bearing the profile picture of Nikolas Cruz and usernames referencing

   Cruz’ violent conduct. Every time the messages appeared on the victims’ devices, Cruz’ face stared

   back at them with a message that reminded them of the harm that he had committed and the

   violence that he intended to commit in the future.

              Throughout the period of his attack, Fleury knew that the victims were vulnerable and still

   grieving. The evidence appeared all over his electronic devices. Yet, that did not phase him.

   Nothing about the victims’ pain and suffering deterred Fleury from engaging in the type of mental,

   emotional, and psychological harm that he knew would devastate them, especially in their

   vulnerable state. As time progressed, it became readily apparent that he did not care, preferring

   instead to engage in the very behavior that he found sexually arousing in mass murderers and serial

   killers.




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         A sample of the messages are as follows:

       USERNAME AND PROFILE PICTURE                                 MESSAGE

               nikolas.killed.your.sister
                                                    You mad, [J.G.]? Come on and cry a
                                                    little! I MURDERED YOUR SISTER
                                                    WHOO-HOO

                                                    With the power of my AR-15, I erased
                                                    their existence

                                                    Cry for me, [J.G.]. I killed your sister.
                                                    WHOO!!

                                                    Hahaha she had her whole life ahead of
                                                    her and I STOLE IT FROM HER

                                                    I took a shit on your sister’s grave

                                                    They had their whole lives ahead of them
                                                    and I fucking stole it from them hahaha

                                                    Your grief is my joy

                                                    With the power of my AR-15, I erased
                                                    their existence

                                                    I gave them no mercy

                                                    Did you like my Valentines gift? I killed
                                                    your friends

                                                    [Direct message to J.G.] I killed your
                                                    sister. It was fun[.] She had her whole life
                                                    ahead of her and I fucking stole it from
                                                    her. Hahaha[.] Wanna beat my ass? Come
                                                    on, [J.G.]. How fucking bad do you wanna
                                                    beat the shit out of me? [followed by three
                                                    laughing with tears emojis, one clapping
                                                    emoji, and three blowing kisses emojis].
                                                    Want me to get the death penalty?



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                   nik.taunts_
                                             I’m the Douglas shooter

                                             I killed [F.G.’s daughter] hahaha

                                             Hows [M.S.’ son]? Hahaha oh that’s
                                             right i killed him

                                             I shot [M.S.’ son] dead, [M.S.]!

                                             I killed your little boy, [M.S.]! Hahaha!

                                             How’s your Christmas without [M.S.’
                                             son]?

                                             I stole your sister’s future, buddy. With
                                             the power of my AR-15

                                             All the other kids with the pumped up
                                             kicks better run better [sic] run outrun
                                             my gun
               the.douglas.shooter
                                             I’m a murderer. It’s what I do, fool

                                             Do you like my Valentines gift? I killed
                                             your friends

                                             I killed her ass

                                             [F.G.’s daughter] died a virgin

                                             Hahaha! I’m        the   Douglas    shooter!
                                             SCREAM!!

                                             With the power of my AR-15, I take your
                                             loved     ones    away   from       you
                                             PERMANENTLY

                                             With the power of my AR-15, you all die

                                             I’m a homicidal outrage, motherf***ers!

                                             I’m the monster that killed your family


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               nikolasthemurderer
                                             It’s me! Nikolas Cruz! Hahaha! I killed
                                             your friends

                                             H.R. (another victim of the MSD shooting)
                                             had her whole life ahead of her but I stole
                                             that

                                             Little [M.S.’ son] will never play music
                                             again

                                             I took away [F.G.’s daughter] future

                                             I’m merciless

                                             I’m the Douglas shooter
                Teddykillspeople
                                             I’m your abductor I’m kidnapping you fool

                                             I killed Janice Ott and Denise Naslund

                                             I killed Janice Ott and Denise Naslund I
                                             kidnapped them and murdered them

                                             I kidnapped Carol DaRonch too

                                             I killd Georgann Hawkins, fool

                                             Hahaha




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                     Tedtheabductor
                                                          [Profile] Hey baby. I’m your abductor!
                                                          Scream! I’m kidnapping you! Fuckin’
                                                          scream! Hahaha! Come on baby. You can
                                                          do better than that. Fuck it.

                                                          Nikolas murdered your friends and
                                                          teachers but guess what? I murdered Janice
                                                          Ott and Denise Naslund

                                                          I kidnapped them and killed them both on
                                                          July 14, 1974




                                             Living in Fear

          From December 22, 2018, through January 11, 2019, the victims continuously received

   message after message. Because Fleury intentionally masked his identity, the victims had no idea

   who targeted them or where that individual resided. Some of them genuinely believed that he

   resided in Parkland, Florida.

          The victims lived in constant fear that the individual bombarding them with this vile

   messages sought to follow in Cruz’ footsteps. Having seen firsthand what happens when someone

   driven by violence and a desire to exert dominance over others follows through on his threats, the

   victims lived in constant fear that the person targeting them aspired to be the next mass murderer.

   It was only after all of the evidence of the case had come forth did the victims realize that they

   were right.



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                           ADVISORY SENTENCING GUIDELINE RANGE

          After a six-day trial, a jury convicted Fleury of one count of interstate threats, in violation

   of Title 18, United States Code, Section 875(c), and three counts of cyberstalking, in violation of

   Title 18, United States Code, Section 2261A(2)(B). Although his advisory guideline range is 57-

   71 months’ imprisonment, Fleury faces a maximum sentence of twenty years’ imprisonment.

            18 U.S.C. § 3553(a) FACTORS SUPPORTING AN UPWARD VARIANCE

                               Nature and Circumstances of the Offense

          Less than a year after the MSD massacre, Fleury engaged in a multi-faceted campaign to

   harass, intimidate, and threaten family and friends of those who lost loved ones during the MSD

   shooting. He stalked the victims, engaging in incredibly disturbing behavior by saving photographs

   of Cruz’ victims, as well as photographs of the loved ones mourning their deaths. Fleury then took

   screenshots of messages that conveyed sorrow, grief, and pain. With all this saved to his tablet, he

   began to maliciously prey on their vulnerabilities.

          He knew they were grieving.

          He knew they felt an immense sense of loss.

          He knew they were in pain.

   He just did not care.

          Fleury’s criminal conduct clearly stemmed from his insatiable desire to live out his darkest

   fantasies. He admitted to FBI Special Agents that mass murderers and serial killers, including

   Nikolas Cruz, Theodore “Ted” Bundy, the Columbine shooters, T.J. Lane, and a comic book

   assassin named Bullseye, sexually aroused him. Both the aggressor and the act of aggression




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   stimulated him. The manner in which he conducted himself clearly stemmed from this sexual

   depravity and the connection that he feels to these murderers.

                                        Fleury’s History and Characteristics

            Fleury is a cyber predator who resided in California. Prior to being a high school dropout,

   Fleury        accumulated          72        demerits,        including         but       not           limited     to

   defiance/insubordination/noncompliance,                disruption/defiance/lying,             general      disruption,

   possessing matches/lighter, truancy, and tardiness.

            It is undisputed that Fleury has autism spectrum disorder (“ASD”). It is also undisputed

   that every person on the spectrum is unique. Throughout the pendency of the criminal proceeding,

   multiple medical professionals examined Fleury. First, Dr. Sanjay M. Sahgal, a psychiatrist and a

   defense-hired expert, conducted a thorough examination of Fleury and determined that Fleury

   “was capable of understanding the moral wrongfulness of his behavior” (Ex. 3, at 2). 10 However,

   he did not stop there:

            [Fleury] was literally unable to access that aspect of a mentally normal individual
            that would be repulsed by [his criminal conduct]. This doesn’t mean that he didn’t
            understand that his behavior was wrong. This doesn’t mean that he didn’t know that
            his behavior would cause fear or harm. This doesn’t mean that he didn’t have the
            ability to specifically intend to elicit such painful responses from those who read
            the comments. Indeed, he was aware of all of the above.

   (Ex. 3, at 5).

            Although Sahgal’s examination proved favorable to the United States, it retained Dr. Park

   Dietz. Dr. Dietz is a nationally-renowned forensic psychiatrist, having been involved in many high

   profile cases, including the cases of Theodore “Ted” Kaczynski a/k/a “The Unabomber,” the



   10 “Ex. 3” refers to Dr. Sanjay Sahgal’s report, a copy of which has been filed under seal.

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   Boston Marathon bombing, the DC Snipers, Jeffrey Dahmer, and others. In fact, even Fleury’s

   own trial counsel conceded that Dr. Dietz was “one of the country’s foremost forensic

   psychiatrists” (DE 139, at 30).

            Dr. Dietz spent eight hours interviewing Fleury in addition to reviewing numerous

   documents and records associated with Fleury’s upbringing. He specifically audio/video recorded

   his interview to allow anyone to examine the questions that he asked and the manner in which

   Fleury responded. After conducting an extensive examination of Fleury, Dr. Dietz reached the

   following conclusion:

            [Fleury] understands that his behavior affects others and understands which
            behaviors are good or bad and which are right or wrong but he did not and does not
            care about the effect on others. At the time of the charged acts, he lacked any
            empathy for his victims or others and lacked any remorse for the effects of his
            comments on his victims or others. At the time of [Dr. Dietz’] interviews, he
            continued to lack remorse or empathy for his victims or other recipients or viewers
            of his comments.

   (Ex. 4, at 34). 11 Curiously, Fleury admitted that he understood the negative effect that his conduct

   had on his father, brother, and himself, and yet, adamantly refused to show even an ounce of

   remorse towards the victims. 12 Dr. Dietz even recognized that Fleury’s go-to response that his



   11 “Ex. 4” refers to Dr. Park Dietz’ report, a copy of which has been filed under seal.
   12 DR. DIETZ: Has [your conduct] caused any problems for the victims?
     FLEURY: Not really, no.
     DR. DIETZ: Did you cause them any distress?
     FLEURY: No. Anger and annoyance, but other than that, no.
     DR. DIETZ: Do you regret the impact on them?
     FLEURY: Pissing them off? Not really.
     DR. DIETZ: So, your regrets are about what it did to you, and with prompting you agree you regret what it did to
                  your family?
     FLEURY: Yeah.
     DR. DIETZ: But you don’t regret what it did to the recipients of the Parkland victims?
     FLEURY: I don’t think it really did anything to them.

   (Ex. 2, at 222-223).


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   comments would only cause anger and annoyance was “invoked so quickly and repeated so often

   that the response seemed pre-rehearsed” (Ex. 4, at 34). Dr. Dietz also recognized that

           [c]onsidering the degree to which [Fleury] lacks empathy and the role models with
           whom he has identified, it would be important regardless of the legal disposition of
           this case that all possible steps be taken to bar [Fleury] from purchasing or
           possessing a firearm or from living in a residence in which a firearm is present.

   (Ex. 4, at 35). The danger that Fleury poses is clear and if given the opportunity, there is a real

   danger that he will attempt to follow in the footsteps of the very mass murderers and serial killers

   that he idolizes.

           After realizing that Dr. Sahgal did not help his cause, Fleury quickly hired Dr. Lori Butts

   to be his expert witness at trial. Unlike Drs. Sahgal and Dietz, Dr. Butts is not a medical doctor.

   Although she tried to portray Fleury as someone whose ASD severely incapacitated his mental

   processes, Dr. Butts could not adequately explain her claim that she failed to review the

   audio/video recording of Dr. Dietz’ interview of Fleury. Even on the examinations that she

   provided to Fleury, she acknowledged that Fleury identified himself as someone who “appreciates

   when other people are feeling adverse emotions” and “can put [himself] in other people’s shoes”

   (DE 138, at 63). Yet, she claims that, based on her unrecorded interview and interpretation of

   Fleury’s alleged responses, Fleury did not understand that his conduct adversely affected other

   people. As the trial verdict made clear, the jury rejected Dr. Butts’ arguments.

           Lastly, Dr. Manuel E. Gutierrez from the Bureau of Prisons examined Fleury in order to

   ascertain whether a medical facility would be a more appropriate treatment location for Fleury. Dr.

   Gutierrez found that Fleury warrants a diagnosis of ASD, Level 1 – a diagnosis consistent with the

   one reached by Dr. Dietz. Dr. Gutierrez ultimately concluded that Fleury did not require

   hospitalization.

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          At the end of the day, Fleury’s attempt to hide behind his ASD fails. What defines Fleury

   are the very things that make this case incredibly serious: (1) his sexual arousal of mass murderers

   and serial killers; (2) his decision to stalk his victims and save screenshots of their lives onto his

   tablet devices alongside saved images of the very murderers and killers that aroused him; (3) his

   use of the Nikolas Cruz persona to attack the victims; and (4) his ability to intellectually understand

   that his conduct can elicit an adverse feeling in others. Clearly, it is not the ASD to blame – it is

   Fleury himself.

                          Need to Promote Respect for the Law and Deterrence

          All too often, cyber stalkers have used and abused the Internet to harass, intimidate, and

   threaten others, relying heavily on the anonymity that it provides. The online attacks ranges in both

   form and severity, often providing a deep insight into the manner in which the cyber stalkers think

   and operate, especially when they truly believe no one is watching their shoulder.

          Fleury is not like most cyber stalkers. Contrary to his repeated claims that he was just a

   “troll,” Fleury’s actions sought to inflict serious mental, emotional and psychological harm on

   those he knew to be in an incredibly vulnerable state. His primary motivation was to replicate the

   behavior of the mass murderers and serial killers that aroused him and assert his dominance, power,

   and control over his victims. Such conduct cannot be immune to a severe punishment.

          The only reason that Fleury ended his tirade was due to FBI intervention. Although he

   made damning admissions about his interests and desires during the interview, he consciously

   minimized the full extent of his culpability. He repeatedly denied any recollection of sending

   certain messages or operating certain usernames, particularly the messages conveying a threat. His




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   attempts to deny knowledge or recollection of the most damaging messages speaks volumes about

   his knowledge and understanding at the time of his interview.

          Moreover, Fleury’s refusal to show any remorse for his conduct at any point prior to trial

   is aggravating. The fact that his videotaped allocution – which he made specifically for his

   sentencing – includes a half-hearted apology warrants no weight. Clearly, he has failed to show

   any true remorse for his conduct and only saying what he believes needs to be said in order to

   obtain a favorable sentence.

                              Need to Protect the Victims and the Public

          February 14, 2018, began like any other day. None of the students who attended Marjorie

   Stoneman Douglas High School thought that day could be their last. None of their parents, siblings,

   or friends believed that this day would end any differently than any other day. A day reserved for

   celebrating love, happiness, and joy ended in violence and mayhem. Seventeen innocent souls lost

   their lives at the hands of a deranged psychopath armed with an AR-15 assault rifle. The immense

   loss felt that day left an indelible mark on everyone, especially the immediate family and friends

   of those who died.

          The victims in this case carry the memories of their loved ones with them everywhere they

   go. Since that fateful day, they had no choice but to slowly pick up the pieces of their lives and

   continue moving forward. They took each day one step at a time, learning to grieve in their own

   ways. They trudged forward through the uncertainty that laid ahead, guided by the belief that they

   will be okay.

          Everything changed with Brandon Michael Fleury. While the victims grieved, Fleury

   stalked. He saved photographs of the victims and their loved ones on his tablet devices – the same


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   devices that he used to store images of the very serial killers and mass murderers that he found

   sexually arousing. Then, when he knew the victims would be most vulnerable, he attacked. For

   what felt like an eternity, he tormented them, mercilessly bombarding them with one hateful

   message after another. The power, control, and dominance that Fleury exerted over the victims

   sought to shatter any semblance of security that they had. He succeeded.

          After what happened on February 14, 2018, the victims never imagined someone actively

   interfering their time to grieve for sexual gratification. Never could they have imagined that, while

   in the midst of grieving, they would be thrown into the middle of a federal criminal trial and face

   their attacker. Never could they have imagined that the perpetrator of the MSD shooting was

   someone that the newest threat to their safety found sexually arousing. Never could they have

   imagined that they would again live in fear that danger was knocking on their door. They did not

   deserve any of this – and justice does not allow it.

          The victims deserve justice. They deserve to live in peace and with the belief that they are

   safe and secure. The law provides for a statutory maximum of five years for each count of

   conviction. Running the statutory maximum as to each count consecutively to one another would

   yield a total sentence of twenty years’ imprisonment. If this is what the law will allow, then that is

   how far the sentence must reach in order for justice to prevail. Until the day the shackles around

   Fleury’s wrists and ankles are removed, the victims deserve to know that they can finally live their

   lives in peace.




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                                          CONCLUSION

          For the reasons stated above, this Court should grant the United States’ motion for upward

   variance and sentence Brandon Michael Fleury to a term of imprisonment of twenty years.

                                               Respectfully submitted,

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                                               UNITED STATES ATTORNEY

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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on the February 28, 2020, the undersigned electronically filed

   the foregoing document with the Clerk of the Court using CM/ECF.


                                                           s/ Ajay J. Alexander
                                                           AJAY J. ALEXANDER
                                                           Assistant United States Attorney




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